                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


UNITED STATES OF AMERICA                    )
                                            )
                                            )
v.                                          )       Case No.       3:19-CR-220
                                            )                      Judge Thomas A. Varlan
                                            )
DARREN PAYNE                                )


     NOTICE OF NO OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT

       The defendant, Darren Payne, by and through undersigned counsel, hereby files this Notice

of No Objections to the Presentence Investigation Report. Having reviewed in full the Presentence

Investigation Report prepared by the United States Probation Office, Mr. Payne has no objection

to the Report as filed with the Court.

                                            Respectfully submitted,

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